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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 CHINMAY DEORE, et al.,
                                               Case No. 2:25-cv-11038
             Plaintiffs,
                                               HONORABLE STEPHEN J. MURPHY, III
 v.

 SECRETARY OF U.S. DEPARTMENT
 OF HOMELAND SECURITY, et al.,

             Defendants.
                                   /

                     STIPULATED ORDER OF DISMISSAL

      The Student and Exchange Visitor Information System (“SEVIS”) record for

each Plaintiff in this case has been set back to “active” by the Student and Exchange

Visitor Program (“SEVP”) within Homeland Security Investigations (“HSI”) at U.S.

Immigration and Customs Enforcement (“ICE”).

      2.     The reactivation of each Plaintiffs’ SEVIS record shall be considered

retroactive to the date of its initial termination, such that there is no gap or lapse in

the Plaintiffs’ SEVIS record. Although the event history will memorialize whatever

modifications are made to the SEVIS account, the effect of this retroactive activation

is as though the termination did not happen.

      3.     To the extent any Plaintiffs are participating in Optional Practical

Training (“OPT”), or the Science, Technology, Engineering, and Math (“STEM”) OPT

extension, or Curricular Practical Training (“CPT”), any authorization end date for

OPT, STEM OPT, or CPT has been reset to the end date set forth in the Plaintiffs’



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SEVIS record before its termination.

      4.     ICE will not, under its new SEVIS policy announced April 26, 2025, re-

terminate the Plaintiffs’ SEVIS records based solely on the National Crime and

Information Center (“NCIC”) record that led to the initial termination or on any

related prudential visa revocation that is effective upon departure (as set forth in

Paragraph 5).

      5.      ICE has a new policy stating: “If the Department of State revokes a

nonimmigrant visa eﬀective immediately, SEVP may terminate the nonimmigrant’s

SEVIS record based on the visa revocation with immediate eﬀect, as such a revocation

can serve as a basis of removability under INA § 237(a)(1)(B).” A visa revocation that

is effective upon departure rather than immediately does not establish removability

under INA § 237(a)(1)(B), and therefore is not, in itself, a basis for termination of the

SEVIS record under the new SEVIS policy.

      6.     Pursuant to INA § 221(i), notice of a visa revocation must be

communicated to the Department of Homeland Security. DHS has not received any

communication from the Department of State that the visas of any of the Plaintiffs

in this action have been revoked with immediate effect.

      7.     The termination and reactivation of a Plaintiff’s SEVIS record by SEVP,

as set forth in Paragraph 1 of this Stipulation, will not, in itself, have a negative

impact on the adjudication of any benefit request by United States Citizenship and

Immigration Services (“USCIS”).       If, while adjudicating an immigration benefit

request, USCIS finds that an F-1 nonimmigrant’s SEVIS record was terminated and



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then reactivated by ICE, USCIS will continue processing the benefit request

according to all applicable laws, regulations, policies, and procedures.

         8.    To the extent USCIS issues a request for evidence, notice of intent to

deny, or denial based in whole or part on the termination and reactivation of

Plaintiffs’ SEVIS record, counsel for Defendants agree to cooperate with Plaintiffs’

counsel to ensure USCIS is aware of this Stipulation and its terms in connection with

its consideration or reconsideration of any Plaintiffs’ benefits request.

         9.    Defendants shall communicate this Stipulation to the Department of

State.

         10.   Plaintiffs shall dismiss this action with prejudice but reserve the right

to pursue separate litigation in the event that their SEVIS record is terminated

again. Each party shall bear its own fees and costs.

         This is a final order that closes the case.

         SO ORDERED.

                                           s/ Stephen J. Murphy, III
                                           STEPHEN J. MURPHY, III
                                           United States District Judge
Dated: May 29, 2025




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SO STIPULATED AND AGREED BY:

 /s/ Philip Mayor (w/ consent)               Jerome F. Gorgon, Jr.
 Philip E. Mayor (P81691)                    United States Attorney
 Ramis J. Wadood (P85791)
 Bonsitu Kitaba-Gaviglio (P78822)            s/Zak Toomey
 Syeda F. Davidson (P72801)                  Zak Toomey (MO 61618)
 American Civil Liberties Union              Assistant U.S. Attorney
   Fund of Michigan                          211 W. Fort St., Ste. 2001
 2966 Woodward Avenue                        Detroit, MI 48226
 Detroit, MI 48201                           313-226-9617
 (313) 578-6800                              zak.toomey@usdoj.gov
 pmayor@aclumich.org
 rwadood@aclumich.org                        Attorneys for Defendants
 bkitaba@aclumich.org
 sdavidson@aclumich.org

 Kevin M. Carlson (P67704)
 Michael L. Pitt (P24429)
 Cooperating Attorneys, American Civil
   Liberties Union Fund of Michigan
 Pitt McGehee Palmer Bonanni
   & Rivers
 117 W. 4th St. Ste. 200
 Royal Oak, MI 48067
 (248) 398-9800
 kcarlson@pittlawpc.com
 mpitt@pittlawpc.com

 Russell Abrutyn (P63968)
 Cooperating Attorney, American Civil
   Liberties Union Fund of Michigan
 Abrutyn Law PLLC
 15944 W 12 Mile Rd
 Southfield, MI 48076
 (248) 965-9440
 russell@abrutyn.com

Attorneys for Plaintiffs




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